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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  SOUTHERN DIVISION
In Re: A.C. C.
Charles E. Chapman and Margaret L. Chapman, Parents/Co-Guardians
of Alexander C. Chapman (“A.C.C.” or “Alex”); Alexander C. Chapman                   Plaintiffs

V.                             Civil Action: 1:17-cv-0075-HSO-JCG

RevClaims, LLC, a Mississippi LLC Entity; Memorial Hospital at Gulfport (“MHG”),
a Mississippi Entity; UnitedHealthCare Services, Inc. (“UHC”) and OPTUM (Putative
Assignees of Putative Claims of the Welfare Plan Committee of Lowe's Companies,
Inc. and/or Lowe’s); Lowe's Welfare Plan and JOHN DOES 1 - 5                 Defendants

  Notice of Intent to Serve FRCP 45(d)(2)(A) Subpoenas to Produce Documents Only

     Plaintiffs hereby give notice of intent to serve the following attached, FRCP 45(d)(2)(A)

Subpoenas to Produce Documents Only upon the following non-parties as shown by the

attached Exhibited Subpoenas that are marked, incorporated and exhibited hereto as:

Exhibit “1" - FRCP 45(d)(2)(A) Subpoena to Produce Documents Only to
Great West Casualty Company
1100 West 29th Street
South Sioux City, NE 68776 (or Where Found) [GWCC Claim # H22057]
[Mississippi Insurance Company License # 7700720]
c/o Mike Chaney, State of Mississippi Insurance Commissioner
1001 Woolfolk State Office Building, 501 N. West St.
Jackson, MS 39201

Exhibit “2" - FRCP 45(d)(2)(A) Subpoena to Produce Documents Only to:
Dan Firschein, Claims Agent and/or custodian of records of Great West Casualty Company
Great West Casualty Company, Division of Old Republic Insurance Group [GWCC Claim #H22057]
4455 LBJ Freeway Suite 700, Dallas, TX 75244 (or Where Found)
[Mississippi Insurance Company License # 7700720]
c/o Mike Chaney, State of Mississippi Insurance Commissioner
1001 Woolfolk State Office Building, 501 N. West St.
Jackson, MS 39201

Exhibit “3" - FRCP 45(d)(2)(A) Subpoena to Produce Documents Only to:
Ken Pixley, So. Region Claims Supervisor and/or records custodian of Great West Casualty Co.,
Great West Casualty Company, Division of Old Republic Insurance Group [GWCC Claim# H22057]
624 Six Flags Drive, Ste. 240, Arlington, TX 76011(or Where Found)
[Mississippi Insurance Company License # 7700720]
c/o Mike Chaney, State of Mississippi Insurance Commissioner
1001 Woolfolk State Office Building, 501 N. West St.
Jackson, MS 39201
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       Respectfully submitted on this the 10th day of October, 2017.

Charles E. Chapman and Margaret L. Chapman, Parents/Co-Guardians of
Alexander C. Chapman (“A.C.C.” or “Alex”); Alexander C. Chapman, Plaintiffs

By: /s/
Matt G. Lyons, Esq. (MS Bar # 1743)         John G. Corlew, Esq. (MS Bar # 6526)
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                                      Certificate of Service
  I certify, on this date, that I electronically filed the foregoing with the Clerk of Court, by
using the ECF system which sent notification to all counsel of record, i.e.: Jean C.
Bertas, I00 Vision Dr., Ste 400, One Eastover Ctr, P.O. Box 14167, Jackson, MS
39211; E-mail:jbertas@bakerdonelson.com; Stephen J. Buccola, P. O. Box 12535
Jackson, MS 39236; E-mail: sbuccola@revclaims.com and Roland F. Samson, III, P.O.
Box 1417, Gulfport, MS 39502-1417, E-mail: rsamson@splawfirm.com.
  This the 10th day of October, 2017.
                                            By:/s/
                                            Matt G. Lyons, Esq. (MS Bar # 1743)

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